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                                                             Wednesday, 31 January, 2018 10:25:27 AM
                                                                         Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )       Case No: 17-CR-20037
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
              Defendant.                   )

    THE UNITED STATES OF AMERICA’S RESPONSE TO THE DEFENDANT’S
        MOTION TO CONTINUE FINAL PRE-TRIAL AND TRIAL DATES

       NOW COMES the United States of America, by John E. Childress, United States

Attorney for the Central District of Illinois, and Eugene L. Miller and Bryan D. Freres,

Assistant United States Attorneys, pursuant to this Court’s order of January 24, 2018,

and hereby responds to the defendant’s motion to continue the final pre-trial and trial

dates. (R.55) As represented in a previous filing, because the United States filed notice

of an intent to seek a sentence of death in this case, it has no objection to the Court

continuing the February 12, 2018, final pretrial conference and the February 27, 2018,

trial date to provide the defendant with a reasonable opportunity to prepare a defense.

                       FACTUAL AND PROCEDURAL HISTORY

       The superseding indictment alleges that the defendant kidnapped and caused

the death of the victim on June 9, 2017. The defendant was arrested and charged by

criminal complaint with kidnapping on June 30, 2017. A grand jury indicted the

defendant for kidnapping on July 12, 2017. Pursuant to the defendant’s motion to



                                                
 
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continue, the Court scheduled the final pretrial conference on February 12, 2018, and

the jury trial to February 27, 2018.

       On October 3, 2017, a federal grand jury returned a superseding indictment that

alleged that the kidnapping resulted in the death of the victim. On January 19, 2018, the

United States filed its notice of intent to seek the death penalty. (R.54) On January 23,

2018, the defendant requested that the Court vacate all existing deadlines and the final

pretrial conference and trial dates. The defendant also requested that the Court convert

the February 12, 2018, final pretrial conference to a status conference to discuss

scheduling. (R.55) On January 24, 2018, this Court held response dates in abeyance and

allowed the United States until February 2, 2018, to respond to the defendant’s motion

to continue.

                                         RESPONSE

       Given that the notice of intent to seek a sentence of death was recently filed, the

United States does not object to the defendant’s motion to continue the trial date. See 18

U.S.C. § 3593(a) (government’s notice that it is seeking a sentence of death shall be filed

“a reasonable time before trial”); cf. United States v. Ferebe, 332 F.3d 722, 737 (4th Cir.

2003) (addressing whether notice that the government is seeking a sentence of death

should be dismissed if it is not filed a reasonable time before the trial date). Moreover,

the United States understands that the defendant intends to amend and/or supplement

his pending motions in light of the notice of intent to seek a sentence of death.

Therefore, the United States does not object to the Court vacating any deadlines for the




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parties’ to respond to pending motions, as well as any deadlines for filing pretrial

documents.

       The United States acknowledges that it has conferred and will continue to confer

with defense counsel regarding a proposed Scheduling Order. The United States would

request leave of Court for the parties to file their Proposed Scheduling Orders, or a Joint

Proposed Scheduling Order if one can be reached, by February 8, 2018. The United

States also joins in the defendant’s request that the Court convert the February 12, 2018,

final pretrial conference to a status conference to further discuss scheduling.




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       WHEREFORE the United States of America respectfully requests that the Court

grant the defendant’s motion to vacate all existing deadlines and continue the pre-trial

and trial dates, grant the parties leave to file proposed scheduling orders by February 8,

2018, and convert the February 12, 2018, final pretrial conference to a status conference.



                                          Respectfully submitted,


                                          JOHN E. CHILDRESS
                                          UNITED STATES ATTORNEY

                                          s/Eugene L. Miller
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                           CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2018, I electronically filed the foregoing
Response to the Defendant’s Motion to Continue Final Pre-Trial and Trial Dates with
the Clerk of the Court using the CM/ECF system, which will send notification of such
filing to counsel of record.


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